                Case 24-01061-hlb         Doc 5
                                              6     Entered 07/31/24
                                                            08/01/24 14:24:05
                                                                     09:41:27          Page 1 of 4
                                                                                                 5

NVB 250B (Rev. 10/14)


                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                       BK−24−13181−hlb
                                                              CHAPTER 11
 VARALUZ, LLC ,
                                   Debtor(s)
                                                              Adversary Proceeding: 24−01061−hlb


 VARALUZ, LLC                                                 SUMMONS AND
                                   Plaintiff(s)               NOTICE OF SCHEDULING
                                                              CONFERENCE IN AN ADVERSARY
 vs                                                           PROCEEDING

 KALAMATA CAPITAL GROUP, LLC                                  Hearing Date: November 20, 2024
 STEVEN MANDIS                                                Hearing Time: 10:30am
 CONNOR PHILLIPS
 BRANDON LAKS
                       Defendant(s)




To each Defendant listed above, YOU ARE SUMMONED and required to submit a motion or answer to the
complaint which is attached to this summons to the Clerk of the Bankruptcy Court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall submit a motion or answer
to the complaint within 35 days.



Address of the Clerk:

                                            Clerk, U.S. Bankruptcy Court
                                             300 Las Vegas Blvd., South
                                               Las Vegas, NV 89101
                Case 24-01061-hlb           Doc 5
                                                6   Entered 07/31/24
                                                            08/01/24 14:24:05
                                                                     09:41:27           Page 2 of 4
                                                                                                  5

NVB 250B (Rev. 10/14)


At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:

                                           TERESA M. PILATOWICZ
                                         GARMAN TURNER GORDON
                                        7251 AMIGO STREET, SUITE 210
                                             LAS VEGAS, NV 89119
                                                 725−777−3000



If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


YOU ARE NOTIFIED that a scheduling conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place.



              Hearing Date:                   November 20, 2024
              Hearing Time:                   10:30am
              Hearing Phone Number:           (833) 435−1820
              Hearing Meeting ID:             160 532 0260
              Hearing Passcode:               643758



IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: July 31, 2024



                                                           Mary A. Schott
                                                           Clerk of Court
                Case 24-01061-hlb          Doc 5
                                               6     Entered 07/31/24
                                                             08/01/24 14:24:05
                                                                      09:41:27           Page 3 of 4
                                                                                                   5

NVB 250B (Rev. 10/14)


                                   CERTIFICATE OF SERVICE

IN RE:                                                         BK−24−13181−hlb
                                                               CHAPTER 11
VARALUZ, LLC ,
                                   Debtor(s)
                                                               Adversary Proceeding: 24−01061−hlb


VARALUZ, LLC, et al,                                           COMPLAINT, SUMMONS
                                   Plaintiff(s)                STANDARD DISCOVERY PLAN AND
                                                               SCHEDULING ORDER PACKET
vs
                                                               Hearing Date: November 20, 2024
KALAMATA CAPITAL GROUP, LLC                                    Hearing Time: 10:30am
STEVEN MANDIS
CONNOR PHILLIPS
BRANDON LAKS, et al,
                      Defendant(s)




I, 9LFNL'L0DLR, certify that I am at least 18 years old and not a party to the matter concerning
               (name)
which service of process was made. I further certify that the service of this summons and a copy of the complaint
along with the Standard Discovery Plan and Scheduling Order packet, as required by Local Rule 7016(b), was made
on ________________________
               (date)

by:

      [     Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:
              6HHDWWDFKHGVHUYLFHOLVW

            Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:



            Residence Service: By leaving the process with the following adult at:



            Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
            addressed to the following officer of the defendant at:



            Publication: The defendant was served as follows: (Describe briefly)



            State Law: The defendant was served pursuant to the laws of the State of __________________,
            as follows: (Describe briefly)                                              (name of state)
                Case 24-01061-hlb           Doc 5
                                                6     Entered 07/31/24
                                                              08/01/24 14:24:05
                                                                       09:41:27       Page 4 of 4
                                                                                                5

Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: _______________________                       Signature:_V9LFNL'L0DLR________


Print Name: 9LFNL'L0DLR

Business Address:$PLJR6WUHHW6XLWH

City: /DV9HJDV State: 19 Zip: 
        Case 24-01061-hlb      Doc 6    Entered 08/01/24 09:41:27   Page 5 of 5




                                       SERVICE LIST

Kalamata Capital Group, LLC
c/o Corporation Service Company – Registered Agent
251 Little Falls Drive
Wilmington, DE 19808

Kalamata Capital Group, LLC
7315 Wisconsin Ave. #550E
Bethesda, MD 20814

Kalamata Capital Group, LLC
c/o Berkovitch & Bouskila, PLLC
Attn: Ariel Bouskila
1545 Route 202, Suite 101
Pomona, NY 19070

Kalamata Capital Group, LLC
1 Blue Hill Plaza
Lobby Level #1509
Pearl River, NY 10965

Steven Mandis
1 Blue Hill Plaza
Lobby Level #1509
Pearl River, NY 10965

Connor Phillips
7315 Wisconsin Ave. #550E
Bethesda, MD 20814

Brandon Laks
7315 Wisconsin Ave. #550E
Bethesda, MD 20814
